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                       5

                       6      Attorneys for Defendant Lyft, Inc.

                       7

                       8                                   UNITED STATES DISTRICT COURT

                       9                                           DISTRICT OF NEVADA

                      10

                      11      BRENDA SUE SATCHELL,                                    Case No. 2:20-cv-01201-KJD-VCF
                      12                     Plaintiff,
       WAL




                                                                                      STIPULATION AND PROTECTIVE
                      13             v.                                               ORDER--CONFIDENTIAL AND
       SYENROTTA TA




                                                                                      HIGHLY CONFIDENTIAL
                      14     LYFT,INC.; DOE DRIVER;DOES II through                    DESIGNATIONS
                             XX,inclusive; and ROE BUSINESS ENTITIES I
                      15     through XX, inclusive,

                      16                     Defendants.

                      17

                      18             IT IS HEREBY STIPULATED by and between the parties to Brenda Sue Satchell v. Lyft,

                      19     Inc., et al. (hereinafter "Parties"), by and through their respective counsel of record, that in order

                      20      to facilitate the exchange of information and documents which may be subject to confidentiality

                      21      limitations on disclosure due to federal laws, state laws, and privacy rights, the Parties stipulate as

                      22     follows:

                      23              1. In this Stipulation and Protective Order, the words set forth below shall have the

                      24     following meanings:

                      25             a. "Proceeding" means the above-entitled proceeding, Civil Action No., 2:20-cv-01201-

                      26      KJD-VCF United States District Court;

                      27             b. "Court" means the Hon. Kent J. Dawson, or any other judge to which this Proceeding

                      28      may be assigned, including Court staff participating in such proceedings;

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                                  c. "Confidential" means any Documents, Testimony, or Information which is in the

                         possession of a Designating Party who believes in good faith that such Documents, Testimony, or

                         Information is entitled to confidential treatment under applicable law;

                                  d. "Confidential Materials" means any Documents, Testimony, or Information as defined

                         below designated as "Confidential" pursuant to the provisions of this Stipulation and Protective

                         Order;

                                  e. "Highly Confidential" means any information which belongs to a Designating Party who

                         believes in good faith that the Disclosure of such information to another Party or non-Party would

                         create a substantial risk of serious financial or other injury that cannot be avoided by less

                         restrictive means;

                                  f. "Highly Confidential Materials" means any Documents, Testimony, or Information, as

                         defined below, designated as "Highly Confidential" pursuant to the provisions of this Stipulation
      WAL




                         and Protective Order.
       SYENROTTA AT




                                  g. "Designating Party" means the Party that designates Documents, Testimony, or

                         Information, as defined below, as "Confidential" or "Highly Confidential;"

                                  h. "Disclose" or "Disclosed" or "Disclosure" means to reveal, divulge, give, or make

                         available Materials, or any part thereof, or any information contained therein;

                                  i. "Documents" means (i) any "Writing," "Original," and "Duplicate" as those terms are

                         defined by the Nevada Rules of Civil Procedure, which have been produced in discovery in this

                         Proceeding by any person or entity, and (ii) any copies, reproductions, or summaries of all or any

                         part of the foregoing;

                                  J. "Information" means the content of Documents or Testimony; and

                                  k. "Testimony" means all depositions, declarations, or other testimony taken or used in this

                        Proceeding.

                                  2. The Designating Party shall have the right to designate as "Highly Confidential" only

                         the non-public Documents, Testimony, or Information that the Designating Party in good faith

                         believes would create a substantial risk of serious financial or other injury, if Disclosed to another

                         Party or non-Party, and that such risk cannot be avoided by less restrictive means.

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                    1             3. The entry of this Stipulation and Protective Order does not alter, waive, modify, or
                    2      abridge any right, privilege, or protection otherwise available to any Party with respect to the

                    3      discovery of matters, including but not limited to any Party's right to assert the attorney-client

                    4      privilege, the attorney work product doctrine, or other privileges, or any Party's right to contest

                    5      any such assertion.

                    6             4. Any Documents, Testimony, or Information to be designated as "Confidential" or

                    7     "Highly Confidential" must be clearly so designated before the Document, Testimony, or

                    8     Information is Disclosed or produced. The parties may agree that a case name and number are to

                    9     be part of the "Highly Confidential" designation. The "Confidential" or "Highly Confidential"
                   10     designation should not obscure or interfere with the legibility of the designated Information.
                   11             a. For Documents (apart from transcripts of depositions or other pretrial or trial

                   12     proceedings), the Designating Party must affix the legend "Confidential" or "Highly Confidential"
       TA LAW




                   13     on each page of any Document containing such designated material.

                   14             b. For Testimony given in depositions the Designating Party may either:
       SYENROTTA




                   15             1. identify on the record, before the close of the deposition, all "Confidential" or "Highly

                   16     Confidential" Testimony, by specifying all portions of the Testimony that qualify as

                   17     "Confidential" or "Highly Confidential;" or

                   18             1 1. Designate the entirety of the Testimony at the deposition as "Confidential" or "Highly

                   19     Confidential" (before the deposition is concluded) with the right to identify more specific portions

                   20     of the Testimony as to which protection is sought within 30 days following receipt of the

                   21     deposition transcript. In circumstances where portions of the deposition Testimony are designated

                   22     for protection, the transcript pages containing "Confidential" or "Highly Confidential" Information

                   23      may be separately bound by the court reporter, who must affix to the top of each page the legend

                   24     "Confidential" or "Highly Confidential," as instructed by the Designating Party.

                   25                    c.      For Information produced in some form other than Documents, and for any

                   26     other tangible items, including, without limitation, compact discs or DVDs, the Designating Party

                   27      must affix in a prominent place on the exterior of the container or containers in which the

                   28     Information or item is stored the legend "Confidential" or "Highly Confidential." If only portions

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                           of the Information or item warrant protection, the Designating Party, to the extent practicable,

                           shall identify the "Confidential" or "Highly Confidential" portions.

                                  5.      The inadvertent production by any of the undersigned Parties or non-Parties to the

                           Proceedings of any Document, Testimony, or Information during discovery in this Proceeding

                           without a "Confidential" or "Highly Confidential" designation, shall be without prejudice to any

                           claim that such item is "Confidential" or "Highly Confidential" and such Party shall not be held to

                           have waived any rights by such inadvertent production. In the event that any Document,

                           Testimony, or Information that is subject to a "Confidential" or "I Iighly Confidential" designation

                           is inadvertently produced without such designation, the Party that inadvertently produced the

                           document shall give written notice of such inadvertent production within twenty (20) days of

                           discovery of the inadvertent production, together with a further copy of the subject Document,

                           Testimony, or Information designated as "Confidential" or "Highly Confidential" (the "Inadvertent
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                           Production Notice"). Upon receipt of such Inadvertent Production Notice, the Party that received

                           the inadvertently produced Document, Testimony, or Information shall promptly destroy the

                           inadvertently produced Document, Testimony, or Information and all copies thereof, or, at the

                           expense of the producing Party, return such together with all copies of such Document, Testimony

                           or Information to counsel for the producing Party and shall retain only the "Confidential" or

                           "Highly Confidential" materials. Should the receiving Party choose to destroy such inadvertently

                           produced Document, Testimony, or Information, the receiving Party shall notify the producing

                           Party in writing of such destruction within ten (10) days of receipt of written notice of the

                           inadvertent production. This provision is not intended to apply to any inadvertent production of

                           any Document, Testimony, or Information protected by attorney-client or work product privileges.

                           In the event that this provision conflicts with any applicable law regarding waiver of

                           confidentiality through the inadvertent production of Documents, Testimony or Information, such

                           law shall govern.

                                  6.      In the event that counsel for a Party receiving Documents, Testimony or

                           Information in discovery designated as "Confidential" or "Highly Confidential" objects to such

                           designation with respect to any or all of such items, said counsel shall advise counsel for the

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                            Designating Party, in writing, of such objections, the specific Documents, Testimony or

                            Information, by page and line number where appropriate, to which each objection pertains, and the

                            specific reasons and support for each such objection (the "Designation Objections"). Counsel for

                            the Designating Party shall have ninety (90) days from receipt of the written Designation

                            Objections to agree in writing to de-designate Documents, Testimony, or Information pursuant to

                            any or all of the Designation Objections. If the objecting Party disagrees with the extent of any

                            such de-designation, or if the Designating Party declines to de-designate any such material, the

                            objecting Party shall have 14 days from the time the designating party notified the objecting party

                            in writing of the designation to file a noticed motion with the Court seeking de-designation of

                            specific material contained in Documents, Testimony, or Information addressed by the

                            Designation Objections (the "De-Designation Motion").           Pending a resolution of the De-

                            Designation Motion by the Court, any and all existing designations on the Documents, Testimony,
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                            or Information at issue in such Motion shall remain in place. The objecting Party shall have the

                            burden on any De-Designation Motion of establishing the non-applicability of any "Confidential"

                            or "Highly Confidential" designation. In the event that the Designation Objections are not timely

                            addressed by the Designating Party, then such Documents, Testimony, or Information shall be de-

                            designated in accordance with the Designation Objection applicable to such material. In the event

                            that the objecting Party fails to timely address any remaining objections in the De-Designation

                            Motion, then such Documents, Testimony, or Information shall retain its initial designation as

                            assigned by the Designating Party.

                                   7.      Access to and/or Disclosure of Confidential Materials shall be permitted only to the

                            following persons or entities:

                                           a.      the Court;

                                           b.      the named Parties, including (1) Attorneys of record in the Proceeding and

                            their affiliated attorneys, paralegals, clerical and secretarial staff employed by such attorneys who

                            are actively involved in the Proceeding and are not employees of any Party;(2) In-house counsel

                            to the undersigned Parties and the paralegal, clerical and secretarial staff employed by such

                            counsel. Provided, however, that each non-lawyer given access to Confidential Materials shall be

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                             advised that such materials are being Disclosed pursuant to, and are subject to, the terms of this

                             Stipulation and Protective Order and that they may not be Disclosed other than pursuant to its

                             terms;

                                            c.     the Parties' insurers;

                                            d.     those officers, directors, partners, members, employees and agents of all

                             non-designating Parties that counsel for such Parties deems necessary to aid counsel in the

                             prosecution and defense of this Proceeding; provided, however, that prior to the Disclosure of

                             Confidential Materials to any such officer, director, partner, member, employee or agent, counsel

                            for the Party making the Disclosure shall deliver a copy of this Stipulation and Protective Order to

                             such person, shall explain that such person is bound to follow the terms of such Order, and shall

                            secure the signature of such person on a statement in the form attached hereto as Exhibit A;

                                            e.     court reporters in this Proceeding (whether at depositions, hearings, or any
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                             other proceeding);

                                           f.      any deposition, trial, or hearing witness in the Proceeding who previously

                             has had access to the Confidential Materials, or who is currently or was previously an officer,

                             director, partner, member, employee or agent of an entity that has had access to the Confidential

                             Materials;

                                            g.     any deposition or non-trial hearing witness in the Proceeding who

                             previously did not have access to the Confidential Materials; provided, however, that each such

                             witness given access to Confidential Materials shall he advised that such materials are being

                             Disclosed pursuant to, and are subject to, the terms of this Stipulation and Protective Order and

                             that they may not be Disclosed other than pursuant to its terms;

                                            h.     mock jury participants, provided, however, that prior to the Disclosure of

                             Confidential Materials to any such mock jury participant, counsel for the Party making the

                             Disclosure shall deliver a copy of this Stipulation and Protective Order to such person, shall

                             explain that such person is bound to follow the terms of such Order, and shall secure the signature

                             of such person on a statement in the form attached hereto as Exhibit A.



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                                           i.     outside experts or expert consultants consulted by the undersigned Parties

                           or their counsel in connection with the Proceeding, whether or not retained to testify at any oral

                           hearing; provided, however, that prior to the Disclosure of Confidential Materials to any such

                           expert or expert consultant, counsel for the Party making the Disclosure shall deliver a copy of this

                           Stipulation and Protective Order to such person, shall explain its terms to such person, and shall

                           secure the signature of such person on a statement in the form attached hereto as Exhibit A. It shall

                           be the obligation of counsel, upon learning of any breach or threatened breach of this Stipulation

                           and Protective Order by any such expert or expert consultant, to promptly notify counsel for the

                           Designating Party of such breach or threatened breach; and

                                          j.      any other person or entity that the Designating Party agrees to in writing.

                                   8.      Access to and/or Disclosure of Highly Confidential Materials shall be permitted

                           only to the following persons or entities:
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                                           a.     Trial Counsel for the Parties, their partners and associates, and staff and

                           supporting personnel of such attorneys, such as paralegal assistants, secretarial, stenographic and

                           clerical employees and contractors, and outside copying services, who are working on this

                           Proceeding (or any further proceedings herein) under the direction of such attorneys and to whom

                           it is necessary that the Highly Confidential Materials be Disclosed for purposes of this Proceeding.

                           Such employees, assistants, contractors and agents to whom such access is permitted and/or

                           Disclosure is made shall, prior to such access or Disclosure, be advised of, and become subject to,

                           the provisions of this Protective Order. "Trial Counsel," for purposes of this Paragraph, shall mean

                           outside retained counsel and shall not include in-house counsel to the undersigned Parties and the

                            paralegal, clerical and secretarial staff employed by such in-house counsel;

                                           b.     In-house counsel to the undersigned Party corporation and the paralegal,

                           clerical and secretarial staff employed by such counsel to whom it is necessary that the Highly

                            Confidential Materials be Disclosed for purposes of this Proceeding. Provided, however, that each

                            non-lawyer given access to Highly Confidential Materials shall be advised that such materials are

                            being Disclosed pursuant to, and are subject to, the terms of this Stipulation and Protective Order

                            and that they may not be Disclosed other than pursuant to its terms.

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                           1                    c.      the Parties' insurers;

                           2                    d.      outside experts or expert consultants consulted by the undersigned Parties

                           3     or their counsel in connection with the Proceeding, whether or not retained to testify at any oral

                          4      hearing; provided, however, that prior to the Disclosure of Highly Confidential Materials to any

                           5     such expert or expert consultant, counsel for the Party making the Disclosure shall deliver a copy

                          6      of this Stipulation and Protective Order to such person, shall explain its terms to such person, and

                           7     shall secure the signature of such person on a statement in the form attached hereto as Exhibit A

                           8     prior to the Disclosure of Highly Confidential Materials. It shall be the obligation of Trial

                          9      Counsel, upon learning of any breach or threatened breach of this Stipulation and Protective Order

                          10     by any such expert or expert consultant, to promptly notify Trial Counsel for the Designating

                          11     Party of such breach or threatened breach;

                          12                    e.     any person who authored, received, saw or was otherwise familiar with
       SYENROTTA AT LAW




                          13     Documents, Testimony, or Information or thing designated "Highly Confidential," including any

                          14     person otherwise familiar with the Highly Confidential Information contained therein, but only to

                          15     the extent of that person's prior familiarity with the Highly Confidential Information;

                          16                    f.     court reporters in this Proceeding (whether at depositions, hearings, or any

                          17     other proceeding); and

                          18                    g.     the Court.

                          19                    h.      any other person or entity that the Designating Party agrees to in writing.

                          20            9.      Confidential Materials and Highly Confidential Materials shall be used by the

                          21     persons or entities receiving them only for the purposes of preparing for, conducting, participating

                          22     in the conduct of, and/or prosecuting and/or defending the Proceeding only, and not for any

                          23      business or other purpose whatsoever. Such materials and information derived therefrom may not

                          24     be made public or filed publicly without the written authorization of the Designating Party or an

                          25     order of the Court.

                          26             10.    Any Party to the Proceeding (or other person subject to the terms of this Stipulation

                          27     and Protective Order) may ask the Court, after appropriate notice to the other Parties to the

                          28     Proceeding, to modify or grant relief from any provision of this Stipulation and Protective Order.

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                                     11.    Entering into, agreeing to, and/or complying with the terms of this Stipulation and

                             Protective Order shall not:

                                            a.      operate as an admission by any person that any particular Document,

                             Testimony, or Information marked "Confidential" or "Highly Confidential" contains or reflects

                             trade secrets, proprietary, confidential or competitively sensitive business, commercial, financial

                             or personal information; or

                                            b.      prejudice in any way the right of any Party (or any other person subject to

                             the terms of this Stipulation and Protective Order):

                                                           to seek a determination by the Court of whether any particular

                             Confidential Materials or Highly Confidential Materials should be subject to protection under the

                             terms of this Stipulation and Protective Order; or

                                                    ii.    to seek relief from the Court on appropriate notice to all other
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                             Parties to the Proceeding from any provision(s) of this Stipulation and Protective Order, either

                             generally or as to any particular Document, Material or Information.

                                    12.     Any Party to the Proceeding who has not executed this Stipulation and Protective

                             Order as of the time it is presented to the Court for signature may thereafter become a Party to this

                             Stipulation and Protective Order by its counsel's signing and dating a copy thereof and filing the

                             same with the Court, and serving copies of such signed and dated copy upon the other Parties to

                             this Stipulation and Protective Order.

                                     13.    Any Information that may be produced by a non-Party witness in discovery in the

                             Proceeding pursuant to subpoena or otherwise may be designated by such non-Party as

                            "Confidential" or "Highly Confidential" under the terms of this Stipulation and Protective Order,

                             and any such designation by a non-Party shall have the same force and effect, and create the same

                             duties and obligations, as if made by one of the undersigned Parties hereto. Any such designation

                             shall also function as consent by such producing non-Party to the authority of the Court in the

                             Proceeding to resolve and conclusively determine any motion or other application made by any

                             person or Party with respect to such designation, or any other matter otherwise arising under this

                             Stipulation and Protective Order.

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                               14.     If any person subject to this Stipulation and Protective Order who has custody of

                        any Confidential Materials or Highly Confidential Materials receives a subpoena or other process

                      ("Subpoena") from any government or other person or entity demanding production of such

                        materials, the recipient of the Subpoena shall promptly give notice of the same by electronic mail

                        transmission, followed by either express mail or overnight delivery to counsel of record for the

                        Designating Party, and shall furnish such counsel with a copy of the Subpoena. Upon receipt of

                        this notice, the Designating Party may, in its sole discretion and at its own cost, move to quash or

                        limit the Subpoena, otherwise oppose production of the Confidential Materials or Highly

                        Confidential Materials, and/or seek to obtain confidential treatment of such materials from the

                        subpoenaing person or entity to the fullest extent available under law. The recipient of the

                        Subpoena may not produce any Confidential Materials or Highly Confidential Materials pursuant

                        to the Subpoena prior to the date specified for production on the Subpoena or prior to provision of
      TA LAW




                        adequate notice to the Designating Party.

                               15.     Nothing in this Stipulation and Protective Order shall be construed to preclude
      SYENROTTA




                        either Party from asserting in good faith that certain Confidential Materials or Highly Confidential

                        Materials require additional protection. The Parties shall meet and confer to agree upon the terms

                        of such additional protection.

                               16.     If, after execution of this Stipulation and Protective Order, any Confidential

                        Materials or Highly Confidential Materials submitted by a Designating Party under the terms of

                        this Stipulation and Protective Order is Disclosed by a non-Designating Party to any person other

                        than in the manner authorized by this Stipulation and Protective Order, the non-Designating Party

                        responsible for the Disclosure shall bring all pertinent facts relating to the Disclosure of such

                        Confidential Materials or Highly Confidential Materials to the immediate attention of the

                        Designating Party.

                               17.     This Stipulation and Protective Order is entered into without prejudice to the right

                        of any Party to knowingly waive the applicability of this Stipulation and Protective Order to any

                        Confidential Materials or Highly Confidential Materials designated by that Party. If the

                        Designating Party uses Confidential Materials or Highly Confidential Materials in a non-

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                           1      Confidential manner, then the Designating Party shall advise that the designation no longer

                           2      applies.

                           3              18.    Where any Confidential Materials or Highly Confidential Materials, or Information

                           4      derived therefrom, is included in any motion or other proceeding governed by Nevada Rules of

                           5      Civil Procedure, and Nevada Revised Statutes, the Parties and any involved non-party shall follow

                           6      those rules. With respect to discovery motions or other proceedings not governed by the Nevada

                           7      Rules of Civil Procedure, the following shall apply:            If Confidential Materials, Highly

                           8      Confidential Materials, or Information derived therefrom are submitted to or otherwise disclosed

                           9      to the Court in connection with discovery motions and proceedings, the same shall be separately

                          10      filed under seal with the clerk of the Court in an envelope marked: "CONFIDENTIAL — FILED

                          11      UNDER SEAL PURSUANT TO PROTECTIVE ORDER AND WITHOUT ANY FURTHER

                          12      SEALING ORDER REQUIRED."
       ATTORNEYS AT LAW




                          13             19.     The Parties shall meet and confer regarding the procedures for use of any

                          14      Confidential Materials or Highly Confidential Materials at trial and shall move the Court for entry

                          15      of an appropriate order.

                          16             20.     Nothing in this Stipulation and Protective Order shall affect the admissibility into

                          17      evidence of Confidential Materials or Highly Confidential Materials, or abridge the rights of any

                          18      person to seek judicial review or to pursue other appropriate judicial action with respect to any

                          19      ruling made by the Court concerning the issue of the status of any Confidential Materials or

                          20      Highly Confidential Materials.

                          21             21.     This Stipulation and Protective Order shall continue to be binding after the

                          22      conclusion of this Proceeding and all subsequent proceedings arising from this Proceeding, except

                          23      that a Party may seek the written permission of the Designating Party or may move the Court for

                          24      relief from the provisions of this Stipulation and Protective Order. To the extent permitted by law,

                          25      the Court shall retain jurisdiction to enforce, modify, or reconsider this Stipulation and Protective

                          26      Order, even after the Proceeding is terminated.

                          27             22.     Upon written request made within thirty (30) days after the settlement or other final

                          28      termination of the Proceeding, the undersigned Parties shall have thirty (30) days to either (a)

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                             promptly return to counsel for each Designating Party all Confidential Materials and Highly

                             Confidential Materials, and all copies thereof(except that counsel for each Party may maintain in

                             its files, in continuing compliance with the terms of this Stipulation and Protective Order, all work

                             product, and one copy of each pleading filed with the Court and one copy of each deposition

                             together with the exhibits marked at the deposition),(b) agree with counsel for the Designating

                             Party upon appropriate methods and certification of destruction or other disposition of such

                             materials, or (c) as to any Documents, Testimony, or other Information not addressed by sub-

                             paragraphs (a) and (b), file a motion seeking a Court order regarding proper preservation of such

                             Materials. To the extent permitted by law the Court shall retain continuing jurisdiction to review

                             and rule upon the motion referred to in sub-paragraph (c) herein.

                                    23.     After this Stipulation and Protective Order has been signed by counsel for all

                             Parties, it shall be presented to the Court for entry. Counsel agree to be bound by the terms set
       SYENROTTA AT LAW




                             forth herein with regard to any Confidential Materials or Highly Confidential Materials that have

                             been produced before the Court signs this Stipulation and Protective Order.

                                    24.     The Parties and all signatories to the Certification attached hereto as Exhibit A

                             agree to be bound by this Stipulation and Protective Order pending its approval and entry by the

                             Court. In the event that the Court modifies this Stipulation and Protective Order, or in the event

                             that the Court enters a different Protective Order, the Parties agree to be bound by this Stipulation

                             and Protective Order until such time as the Court may enter such a different Order. It is the Parties'

                             intent to be bound by the terms of this Stipulation and Protective Order pending its entry so as to

                             allow for immediate production of Confidential Materials and Highly Confidential Materials under

                             the terms herein.




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                                   25.   This Stipulation and Protective Order may be executed in counterparts.

                           DATED: October)", 2020               LADAH LAW FIRM



                                                                By:
                                                                          CARL R. HOUSTON
                                                                          NEVADA BAR NO. 11161
                                                                          517 S. Third Street
                                                                          Las Vegas, NV 89101
                                                                          Attorney for Plaintiff Brenda Sue Satchel!



                          DATED: Octobei2J,2020                 SELMAN BREITMAN LLP



                                                                By:
                                                                          DANA NATHdN NITZ
                                                                          NEVADA BAR NO.50
                                                                          3993 Howard Hughes Parkway, Suite 200
       WAL




                                                                          Las Vegas, NV 89169-0961
                                                                          Attorneys for Defendant Lyft, Inc.
       TA




                                                                      ORDER
       ATTORNEYS




                                   GOOD CAUSE APPEARING,the Court hereby approves this Stipulation and Protective

                          Order.

                                   IT IS SO ORDERED.
                                             16 , 2020
                          DATED: October
                                                                      Kent J. Dawson
                                                                      United States District Judge
                                                                       Cam Ferenbach
                                                                       United States Magistrate Judge




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                          1                                               EXHIBIT A

                         2                           CERTIFICATION RE CONFIDENTIAL DISCOVERY MATERIALS

                          3            I hereby acknowledge that I,                      tityus--31A)                   [NAME],

                         4          rritsv y -pet-
                                 mr-'                                  (A) F.-Wm          [POSITION AND EMPLOYER], am

                          5   about to receive Confidential Materials and/or Highly Confidential Materials supplied in

                         6    connection with the Proceeding, Civil Action No. CaseNumber I certify that I understand that the

                         7    Confidential Materials and/or Highly Confidential Materials are provided to me subject to the

                          8   terms and restrictions of the Stipulation and Protective Order filed in this Proceeding. I have been

                         9    given a copy of the Stipulation and Protective Order; I have read it, and I agree to be bound by its

                         10   terms.

                         11            I understand that the Confidential Materials and Highly Confidential Materials, as defined

                         12   in the Stipulation and Protective Order, including any notes or other records that may be made
      SYENROTTA AT LAW




                         13   regarding any such materials, shall not be Disclosed to anyone except as expressly permitted by

                         14   the Stipulation and Protective Order. I will not copy or use, except solely for the purposes of this

                         15   Proceeding, any Confidential Materials or Highly Confidential Materials obtained pursuant to this

                         16   Stipulation and Protective Order, except as provided therein or otherwise ordered by the Court in

                         17   the Proceeding.

                         18            I further understand that I am to retain all copies of all Confidential Materials and Highly

                         19   Confidential Materials provided to me in the Proceeding in a secure manner, and that all copies of

                         20   such materials are to remain in my personal custody until termination of my participation in this

                         21   Proceeding, whereupon the copies of such materials will be returned to counsel who provided me

                         22   with such materials.

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                                   I declare under penalty of perjury, under the laws of the State of-Califemia, that the

                             foregoing is true and correct. Executed this Vjg day of Oa ,202o, at WOO


                                                                      By:                            1r7''‘)
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